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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS

ST. JOHN’S HOSPITAL OF THE               )
HOSPITAL SISTERS OF THE THIRD            )
ORDER OF ST. FRANCIS,                    )
                                         )
     Plaintiff,                          )
                                         )
v.                                       )     No.   15-cv-789
                                         )
NATIONAL GUARDIAN RISK RETENTION         )
GROUP, INC., EMERGENCY                   )
CONSULTANTS, INC., CENTRAL               )
ILLINOIS EMERGENCY PHYSICIANS,           )
P.C., a/k/a CENTRAL ILLINOIS             )
EMERGENCY PHYSICIANS, LLP,               )
JAMES M. JOHNSON, M.D.,                  )
ROBERT M. WILLIAMS, M.D., and            )
DERIK K. KING, M.D.,                     )
                                         )
     Defendant.                          )

                                COMPLAINT

                            INTRODUCTION

     1) This is an action for damages brought pursuant to 18

U.S.C. 1961 - 1968.   Jurisdiction lies pursuant to 28 U.S.C. 1331

and 18 U.S.C. 1964.   This action also alleges fraud and common

law conspiracy.   The Court can and should exercise supplemental

jurisdiction over these claims, pursuant to 28 U.S.C. § 1367, as

they are so related to the other claim in the action (which is

already under the Court’s original jurisdiction) that they form

part of the same case or controversy under Article 3 of the

United States Constitution.     Additionally, this Court has




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diversity jurisdiction pursuant to 28 U.S.C. 1332 in that no

plaintiff is from the same state as any defendant, and the amount

in controversy exceeds $75,000, exclusive of costs and interest.

                                PARTIES

     2) The plaintiff is St. John’s Hospital of the Hospital

Sisters of the Third Order of St. Francis, a not-for-profit

corporation, authorized to do business in the State of Illinois,

and the operator of a certain hospital in Springfield, Illinois.

     3) Defendant National Guardian Risk Retention Group, Inc.,

is a Hawaii corporation with it’s principal place of business in

Traverse City, Michigan.    They are in the business of writing

liability and other types of insurance.

     4) Defendant Emergency Consultants, Inc., is a Michigan

corporation with it’s principal place of business in Traverse

City, Michigan.   They are in the business of generating and

overseeing a network of physician groups, and they hold

themselves out as the representative, actual agent, implied

agent, apparent agent and/or employee of co-defendant National

Guardian.

     5) Defendant Central Illinois Emergency Physicians, P.C.,

a/k/a Central Illinois Emergency Physicians, LLP, is an Illinois

limited liability partnership with it’s principal place of

business in Traverse City, Michigan.           At all times relevant to




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this Complaint, they provided physician services to Illinois

medical facilities, including plaintiff St. John’s Hospital.

     6) Defendant James M. Johnson, M.D., is a medical doctor,

licensed to practice in Michigan and a citizen and resident of

Michigan; he was a founder of Emergency Consultants, Inc., and at

various times relevant to this action has served as Managing

Partner of Central Illinois Emergency Physicians, as well as the

Chief Executive Officer of National Guardian Risk Retention

Group, Inc.

     7) Defendant Robert M. Williams, M.D., is a medical doctor,

licensed to practice in Michigan and a citizen and resident of

Michigan; he was a founder of Emergency Consultants, Inc., and at

all times relevant to this action has served as their Chairman of

the Board.

     8) Defendant Derik K. King, M.D., is a medical doctor,

licensed to practice in Virginia and a citizen and resident of

Virginia; since 2007, he has served as the President and Chief

Executive Officer of Emergency Consultants, Inc.

                                 FACTS

     9) On March 22, 2011, Patricia and Robert Fugate filed a

medical malpractice complaint in Madison County, IL, 11-L-270,

alleging negligence against several defendants, including St.

John’s Hospital, Emergency Consultants, Inc., and three doctors




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affiliated with Emergency Consultants: Elizabeth McDaniel, D.O.;

Aamir Banday, M.D.; and John Byrnes, M.D.

     10) It is specifically alleged that Drs. McDaniel, Banday

and Byrnes were agents and/or employees of St. John’s at all

times relevant to the cause of action - - namely May 3, 4, and 11

of 2009.

     11) During this relevant time period, there was in effect an

Agreement for Emergency Department Management Services between

St. John’s Hospital and Central Illinois Emergency Physicians

which provided, inter alia, as follows in paragraph 9:

           “Liability Insurance. Partnership, at no cost to
           Hospital, shall ensure that personnel provided by it
           shall maintain professional liability insurance
           coverage (primary and excess) in an amount not less
           than $2,000,000 per occurrence and $4,000,000 annual
           aggregate (only $1,000,000 per occurrence and
           $3,000,000 annual aggregate will be provided until
           11/1/01, at which time the full coverage will
           commence), subject to the terms and conditions of the
           individual policies.


Exhibit A.

     12) This paragraph was subsequently amended to require

professional liability insurance coverage (primary and excess) in

an amount not less than $1,000,000 per occurrence and $3,000,000

annual aggregate.

     13) For purposes of the instant action, “personnel provided”

(as used in paragraph 9 of the Agreement) includes Drs. McDaniel,

Banday and Byrnes.


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     14) At all relevant times, St. John’s Hospital Medical Staff

Bylaws required all medical staff to have professional liability

insurance in the amount of $1,000,000 per occurrence and

$3,000,000 annual aggregate; this requirement applied to each

individual staff member.

     15) On April 7, 2008, defendant McDaniel executed a Medical

Staff Recredentialing Application, Attestation, Agreement and

Release wherein she covenanted to abide by this requirement;

defendant Banday executed same on April 4, 2008, and defendant

Byrnes executed same on April 8, 2008.         Each doctor also

submitted Certificates of Insurance to St. John’s reflecting that

they are additional insureds covered by a policy issued by

National Guardian to Central Illinois Emergency Physicians which

provides coverage in the amount of $1,000,000 per occurrence and

$3,000,000 annual aggregate.

     16) The number for this specific policy is PL1021, and it

was in effect from January 1, 2009 to January 1, 2010.

     17) The policy defines an “Additional Named Insured” as “a

physician or physician extender, employee, physician partner or

independent contractor physician or physician extender

specifically listed as an Additional Named Insured in the

“schedule of Additional Named Insureds.”

     18) Defendants National Guardian, Emergency Consultants, and

Central Illinois Emergency Physicians have taken the position


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that the applicable coverage to the Fugate litigation is the

shared amount of $1,000,000 rather than $1,000,000 per individual

defendant physician.

     19) National Guardian, Emergency Consultants, Central

Illinois Physicians, Dr. Johnson, Dr. Williams, and Dr. King each

agreed to deny the hospital its full insurance coverage and in

furtherance of that position each affirmatively took the position

that only $1 million in coverage applied to the Fugate case.

     20) This position is contrary to the plain language of both

the Insurance Policy and Services Agreement described above, both

of which were signed by Defendant Dr. Johnson.

     21) Doctors McDaniel, Banday and Byrnes, through their

counsel, have joined in St. John’s position that each doctor is

entitled to $1,000,000 in individual coverage, and that the three

do not share $1,000,000 in coverage.

                           COUNT I - RICO

     22) Plaintiff adopts and incorporates paragraphs 1 through

and including 20 herein.

     23) The business activities of defendants National Guardian,

ECI, CIEP, and the named individual defendants - - as fully

described above - - constitute an enterprise affecting interstate

commerce, as is defined in 18 U.S.C. 1961(4).

     24) This enterprise is an association-in-fact; the common

purpose is capitalistic, the structure and relationship is set


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forth in the “PARTIES” sub-heading above, and this enterprise is

ongoing in duration.

     25) Each defendant identified in paragraph 23, supra, are

either employed by or associated with this enterprise at all

relevant times, and each participated in, either directly or

indirectly, the conduct of the affairs of the enterprise.

     26) Each participated through a pattern of racketeering

activity, to wit:

          a)   As was plainly spelled out by contract, and
               further memorialized by individually-executed
               attestations, each doctor was entitled to
               $1,000,000 in individual coverage, for a total of
               $3,000,000;


          b)   This notwithstanding, Defendants insist that the
               agreements signed by Dr. Johnson do not provide
               what they plainly and self-evidently do;


          c)   The net result would be the elimination of a total
               of $2,000,000 in coverage which otherwise would
               have been - - and should be - - “in play” for
               purposes of the Fugate lawsuit;


          d)   At all times relevant, the Illinois Criminal Code
               has defined Commercial Bribery as follows: “A
               person commits commercial bribery when he confers,
               or offers or agrees to confer, any benefit upon
               any employee, agent or fiduciary without the
               consent of the latter's employer or principal,


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          with intent to influence his conduct in relation
          to his employer's or principal's affairs.” 720
          ILCS 5/29A-1.


     e)   At all times relevant, the Illinois Criminal Code
          has defined Conspiracy as follows: “A person
          commits the offense of conspiracy when, with
          intent that an offense be committed, he or she
          agrees with another to the commission of that
          offense. No person may be convicted of conspiracy
          to commit an offense unless an act in furtherance
          of that agreement is alleged and proved to have
          been committed by him or her or by a
          co-conspirator. ” 720 ILCS 5/8-2(a).


     f)   At all times relevant, the Illinois Criminal Code
          has set forth the applicable penalties for the
          violations described above as follows: “If the
          benefit offered, conferred, or agreed to be
          conferred, solicited, accepted, or agreed to be
          accepted in violation of this Article is $500,000
          or more, the offender is guilty of a Class 3
          felony” 720 ILCS 5/29A-3(b); and “Except as
          otherwise provided in this subsection or Code, a
          person convicted of conspiracy to commit a Class 3
          felony shall be sentenced for a Class 4 felony”
          720 ILCS 5/8-2(c)(1)(D).


     g)   That at some time prior to taking their coverage
          position, a combination of Drs. Johnson, Williams,
          and King reached an illegal agreement to deny the
          contracted-for coverage, and a further agreement


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               to offer each individually-covered doctor an
               inducement to acquiesce in this position; each to-
               be-offered inducement constitutes a separate
               offense, such that the requisite pattern has been
               alleged.
          h)   That the net savings of $2,000,000 to defendant
               National Guardian constitutes an amount in excess
               of the $500,000 statutory cut-off, such that each
               contemplated inducement constitutes felony
               conspiracy to commit commercial bribery as defined
               by Illinois statute, and each defendant is
               properly within the ambit of RICO.


          i)   The agreement and subsequent position taken in the
               Fugate case, namely denying the existence of
               contractually-provided coverage, was and remains
               typical of the enterprise.


     WHEREFORE, Plaintiff seeks judgment against Defendants for

damages, treble damages, costs, reasonable attorneys fees, other

equitable relief under federal civil-RICO law, and any other

equitable or legal remedies authorized by law.

                           COUNT II - FRAUD

     27) Plaintiff adopts and incorporates paragraphs 1 through

and including 24 herein.

     28) That all times herein mentioned, the various defendants

did in fact represent to the plaintiff that at all necessary

times the three defendant-doctors each had $1,000,000 in



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individual coverage, for an aggregate amount of $3,000,000

available for potential satisfaction of the Fugate lawsuit.

     29) That at all times these representations were made, they

were - - and constituted - - false statements of material fact.

     30) That at all times herein mentioned, the various

defendants herein knew that this representation was false, and

knew that they had no intention of ever abiding by the plain

language of the policy.

     31) That, nonetheless, the various defendants made these

representations with the full intention of plaintiff relying on

them, to wit:

          a)    Credentialing and otherwise according staff
                privileges at Plaintiff’s hospital to the three
                defendant-doctors, because Plaintiff believed that
                each defendant-doctor had the requisite $1,000,000
                in individual coverage, and was therefore in
                compliance with St. John’s Hospital bylaws.

     32) That plaintiff did in fact reasonably believe these

statements, and acted in justifiable reliance upon same, namely

by permitting the defendant-doctors to practice at St. John’s.

     33) That as a direct and proximate result of this reliance,

the plaintiff stands to be damaged because it can be held

vicariously liabile and subject to satisfaction of a judgment by

Patricia and Robert Fugate in excess of the claimed $1,000,000

aggregate coverage.



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     WHEREFORE, Plaintiff seeks judgment against Defendants for

damages flowing from the breaches, costs, and any other equitable

or legal remedies authorized by law.

                       COUNT III - CONSPIRACY

     34) Plaintiff adopts and incorporates paragraphs 1 through

and including 31 herein.

     35) That at all times herein mentioned the various

defendants herein, both with each other and collectively, did

conspire and otherwise agree to unlawfully accomplish the

breaches of both the insurance and bylaw coverage agreements.

     36) That in furtherance of same, each defendant,

independently and in consultation and agreement with the other

defendants to this action, did overtly acquiesce in the position

that all doctors share $1,000,000 in insurance coverage, each

acquiescence constituting a tortious act.

     WHEREFORE, Plaintiff seeks judgment against Defendants for

damages flowing from the conspiracy, costs, and any other

equitable or legal remedies authorized by law.



                                  /s/Thomas Q. Keefe, Jr.
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